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293. As set forth above, Immunex’s scheme to inflate its reported AWPs and market
the resulting spread to increase the market share of its drugs has resulted in excessive

overpayments by Plaintiffs and the Class.

N. The Johnson & Johnson Group (J&J, Centocor and Ortho)

294. The Johnson & Johnson Group has engaged in an ongoing deliberate scheme to
inflate AWPs and to market the spread to increase the sales of its products. For example, the
federal investigations have documented fraudulently inflated AWPs reported for epoetin alfa
(sold by J&J as Procrit®). J&J is identified in various annual Red Book publications as one of
two sources for epoetin alfa. The other source for epoetin alfa is Defendant Amgen.

295. In September 2001, the GAO reported that epoetin alfa accounted for the second
highest percentage of Medicare expenditures on drugs in 1999, accounting for 9.5% of
spending for prescription drugs by Medicare in 1999 and for 3.4% of all Medicare allowed
services. These massive federal expenditures for epoetin alfa, caused by the J&J Group and
Amgen’s AWP scheme as well as the inflated cost to members of the Class, are even more
outrageous given the fact that the research and development of epoetin alpha was originally
underwritten by grants from the federal government.

296. By way of further example, the J&J Group has deliberately overstated and
continues to overstate the AWP for Remicade® . The published AWP for Remicade®
continued to increase each year during the class period. For example, the AWP was listed as
$611.33 for a 100 mg vial of Remicade® as of November 1999, and rose to $665.65 when
listed in the 2001 edition of the Red Book. At the same time, J&J deliberately marketed and

promoted the sale of Remicade® to physicians based on the availability of inflated payments

6
Amgen markets epoetin alfa for use in the treatment of dialysis patients while the right to market epoetin
alfa for all other uses is licensed to Defendant J&J.

Epogen® and Procrit® are based on different uses of a patented process technology developed at Columbia
University with support from grants from the NIH. Columbia licensed their technology to Amgen for Epogen®
and to Johnson & Johnson for Procrit®. N/JH Response to the Conference Report Request for a Plan to Ensure
Taxpayers' Interests are Protected, Department Of Health And Human Services National Institutes Of Health, July
2001.

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made by Medicare, assuring them that they would make a significant profit from the purchase
of Remicade® as a result of the spread between the actual price to physicians and
reimbursement based on the published AWP.

297. The J&J Group created promotional materials and worksheets to allow them to
market the spread between the published AWP and the actual selling price to doctors. For
example, a publication accessible through Defendants’ web sites entitled “Office-Based
Infusion Guide” demonstrates Defendants’ aggressive marketing of this spread, specifically
noting that, “[d]epending on reimbursement, office-based infusion may provide a financial
impact to a physician’s practice.” Moreover, the “Financial Analysis” section of the guide
includes a “REMICADE® (infliximab) Financial Impact Worksheet,” which enables doctors
see in actual dollars how much additional revenue the use of Remicade® would bring to their
practice,

298. As set forth above, the J&J Group’s scheme to inflate its reported AWPs and
market the resulting spread to increase the market share of its drugs has resulted in excessive

overpayments by Plaintiffs and the Class.

O. The Pharmacia Group (Pharmacia and P&U)
299, The Pharmacia Group has engaged in an ongoing deliberate scheme to inflate

AWPs, According to one member of the Congressional Ways and Means Committee:

The evidence . . . shows that Pharmacia & Upjohn has knowingly
and deliberately inflated their representations of the average
wholesale price (“AWP”), wholesale acquisition cost (“WAC”)
and direct price (“DP”) which are utilized by the Medicare and
Medicaid programs in establishing drug reimbursements to
providers.

These practices must stop and these companies must return the
money that is owed to the public because of their abusive
practices.

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See Extension of Remarks of U.S. Representative Pete Stark in the House of Representatives,

October 3, 2000.
300. During its investigation, the government uncovered specific instances of fraud
by The Pharmacia Group. For example, by letter dated May 25, 2000 to the HCFA

Administrator, the Chairman of the Commerce Committee revealed that:

[IJn 1998, Pharmacia-Upjohn’s Bleomycin had an AWP of
$309.98, but health care providers could purchase it for $154.85.
In 1997, Pharmacia-Upjohn’s Vincasar could be purchased for
$7.50, while the AWP was a staggering $741.50.

See letter dated May 25, 2000 from U.S. Rep. Thomas J. Bliley to the HCFA Administrator.

301. Exhibit 1 to U.S. Rep. Pete Stark’s September 28, 2000 letter to Alan F. Holmer,
President of the Pharmaceutical Research and Manufacturers of America, reveals that while the
AWP for 1 mg of Vincasar® (vincritine sulfate) was $370.75 in 1997, one physician group’s
(American Oncology Resources) price in 1997 was only $4.15. Similarly, while the AWP for 2
mg of Vincasar® was $741.50, AOR’s actual pre-April 1997 price was $7.75 (in fact, The
Pharmacia Group had offered to reduce it to $7.50).

302. Ina letter dated October 3, 2000 to Pharmacia (with accompanying exhibits),

Representative Stark addressed the Pharmacia Group’s illegal practices:

a. The manipulated disparities between your company’s
reported AWPs and DPs are staggering. For example, in
1997, Pharmacia & Upjohn reported an AWP of $946.94
for 200 mg. of Adriamycin PFS while offering to sell it to
American Oncology Resources (AOR) for $168.00 and to
Comprehensive Cancer Center for $152.00 (Composite
Exhibit “1"). Your company then aggressively marketed
its cancer drugs to health care providers by touting
financial inducements and other types of incentives.
Pharmacia & Upjohn created and marketed the financial
inducements for the express purpose of influencing the
professional judgment of doctors and other health care
providers in order to increase the company’s market
share.

b. Pharmacia & Upjohn’s own internal documents . . . reveal
that the company abused its position as a drug innovator

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in an initial Phase IZ FDA clinical trial for a cancer drug
used to treat lymphoma (Composite Exhibit
“2")(emphasis in original),

“... Clinical Research Trials

Initial Phase II] Protocol trial for “oral Idamycin” in
lymphomas. This tnal will offer AOR $1.1M [million] in
additional revenues. Two hundred twenty-five (225)
patients at $5,000 per patient . . . (emphasis added by Rep.
Stark)

The above . . . items are contingent on the signing of the
AOR Disease Management Partner Program. AOR’s
exclusive compliance to the purchase of the products
listed in the contract product attachment is also necessary
for the above items to be in effect.”

The linking of doctor participation in FDA clinical drug
trials to their purchase and administration of profit-
generating oncology drugs is entirely inconsistent with
the objective scientific testing that is essential to the
integrity of the trial.

c. It is clear that Pharmacia & Upjohn targeted health care
providers, who might be potential purchasers, by creating
and then touting the windfall profits arising from the price
manipulation. For example, Pharmacia & Upjohn
routinely reported inflated average wholesale prices for its
cancer drug Bleomycin, 15u, as well as direct prices. The
actual prices paid by industry insiders was in many years
less than half of what Pharmacia & Upjohn represented.
Pharmacia & Upjohn reported that the average wholesale
price for Bleomycin, 15u, rose from $292.43 to $309.98,
while the price charged to industry insiders fell by $43.15
(Composite Exhibit “4").

d. Pharmacia & Upjohn reported price increases in October
of 1997 with full knowledge that the true prices of the
drugs were falling. For example, Composite Exhibit “7”
reveals that Pharmacia & Upjohn voluntarily lowered its
price of Adriamycin PFS 200 mg to $152.00 while
reporting an AWP of $946.94:

“Dear Willie,
A (VPR) Voluntary Price Reduction will become
effective May 9, 1997. The wholesalers have been

notified, however it may take two weeks to complete the
transition...”

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e. Additionally, internal Pharmacia & Upjohn documents
secured through the Congressional investigations show
that Pharmacia & Upjohn also utilized a large array of
other inducements to stimulate product sales. These
inducements, including “educational grants” and free
goods, were designed to result in a lower net cost to the
purchaser while concealing the actual price beneath a high
invoice price. Through these means, drug purchasers
were provided substantial discounts that induced their
patronage while maintaining the fiction of a higher
invoice price — the price that corresponded to reported
AWPs and inflated reimbursements from the government.
Composite Exhibit “8” highlights these inducements:

AOR/PHARMACIA & UPJOHN PARTNERSHIP
PROPOSAL: Medical Education Grants. A $55,000
grant has been committed for 1997 for the AOR
Partnership for excellence package including
Education/disease Management, Research Task Force,
AOR Annual Yearbook. A $40,000 grant to sponsor the
AOR monthly teleconference. This sponsorship was
committed and complete in February 1997...

PHARMACIA & UPJOHN, INC. INTEROFFICE
MEMO:

If needed, you have a “free goods” program to support
your efforts against other forms of generic doxorubicin . .
.Use your “free goods” wisely to compete against other
generic forms of Adriamycin, not to shift the customer to
direct shipments. The higher we can keep the price of
Adriamycin, the easier it is for you to meet your sales
goals for Adriamycin (emphasis added by Rep. Stark).

303. Pharmacia’s marketing pitches, as quoted by U.S. Rep. Pete Stark in a
September 28, 2000 letter to Alan F. Holmer, President of the Pharmaceutical Research and
Manufacturers of America, promoted a physician’s ability to profit at the expense of Medicare

and its beneficiaries:

PHARMACIA: Some of the drugs on the multi-source list offer
you savings of over 75% below list price of the drug. For a drug
like Adriamycin, the reduced pricing offers AOR a
reimbursement of over $8,000,000 profit when reimbursed at
AWP. The spread from acquisition cost to reimbursement on the
multi-source products offered on the contract give AOR a wide
margin for profit.

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304. The government investigators also uncovered an October 3, 1996 internal

memorandum wherein Pharmacia told three oncology sales representatives:

Our competitive intelligence tells us that our pricing on
Adriamycin, although higher than generics, is in the “ball park”
for you to attain the customers’ Adriamycin business. If needed,
you have a “free goods” program to support your efforts against
other forms of generic doxorubicin.

You should not have to use “free goods” to steer customer [sic]
away from NSS or OTN. OTN and NSS Adriamycin pricing is
competitive. Use your “free goods” wisely to compete against
other generic forms of Adriamycin, not to shift the customer to
direct shipments. The higher we can keep the price of
Adriamycin, the easier it is for you to meet your sales goals for
Adriamycin.

305. The government’s investigation has uncovered substantial evidence that the
Pharmacia Group’s fraudulent practices are widespread. For example, in a report published by
the DHHS, the DOJ documented at least 43 instances where the published AWPs for drugs
manufactured by the Pharmacia Group were substantially higher than the actual prices listed by
wholesalers.

306. The chart below sets forth 12 drugs for which the Pharmacia Group reported
inflated AWPs. These figures compare the DOJ’s determination of an accurate AWP, based

upon wholesalers’ price lists, with the AWP reported by the Pharmacia Group.

Drug The Pharmacia DOJ Difference Spread
Group’s 2001 Red Determined
Book AWP Actual AWP

Amphotercin B $36.26 $16.00 $20.26 127%
Bleomycin $309.98 $158.67 $151.31 96%
Sulfate
Clindamycin $93.60 $61.20 $32.40 53%
Phosphate
Cyclophospamide $6.29 $3.92 $2.37 60%

Calculation based on the AWP listed in the 2000 Red Book.

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Cytarabine $8.98 $4.06 $4.92 122%
Doxorubicin HCL $1104.13 $150.86 $953.27 632%
Etoposide $157.65 $9.47 $148.18 1,565%
Fluorouracil $3.20 $1.47 $1.73 118%
Hydrocortisone $2.00 $1.55 $.45 29%
Sodium Succinate

Metholprednisolo $2.05 $1.45 $.60 41%
ne Sodium

Succinate

Testosterone $17.01 $11.79 $5.22 44%
Cypionate

Vincristine $43.23 $5.10 $38.13 748%
Sulfate

307. In OIG report OEI-03-00-00310, the government noted that 20 mg of irinotecan,
which according to the Red Book is manufactured only by the Pharmacia Group, had a
Medicare Median of $117.81 and a Catalog Median of $98.63, resulting in a spread of 19.45%.

308. The GAO issued a report entitled “Payments for Covered Outpatient Drugs
Exceed Providers’ Cost” (GAO-01-1118) wherein it found that irinotecan had an Average
AWP of $141.32, the Average Widely Available Discount from AWP to physicians for
irinotecan was 22.9%, and the drug constituted 2.0% of the total amount of Medicare spending
in 1999,

309. As of April 2000, another Pharmacia Group drug, Toposar® (etoposide), had an
AWP of $28.38. The DOJ found that retailers were buying it for $1.70.

310. In 1997, Pharmacia sent to a clinic a proposal listing the AWP and the contract
price at which several drugs would be sold to the provider. The differences are staggering and

just a few are noted below:

Adriamycin (10 mg) 46.00 7.50

Adriamycin (50 mg) 230.00 37.50

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Neosar (2 g) 86.00 18.00
Toposar (1 g) 1,330.75 120.00
Vincasar (2 mg) 741.50 7.50

311. As set forth above, the Pharmacia Group’s scheme to inflate its reported AWPs
and market the resulting spread to increase the market share of its drugs has resulted in
excessive overpayments by Plaintiffs and the Class.

P. The Schering-Plough Group (Schering-Plough and Warrick)

312. The Schering-Plough Group has engaged in an ongoing deliberate scheme to

inflate AWPs. As stated in a May 4, 2000, letter from U.S. Rep. Tom Bliley, Chairman of the

Congressional Committee on Commerce, to Raman Kapur, President of Warrick:

I am writing to you because one of the drugs reflecting a

significant variation between the AWP-based prices paid by

Medicare and the prices generally charged to private sector

purchasers is albuterol sulfate, a drug manufactured by Warrick

Pharmaceuticals.

313. Inhis May 4, 2000, letter, Bliley outlined The Schering-Plough Group’s scheme

with respect to the prescription drug albuterol sulfate. The government’s investigation
uncovered a significant spread between the amount Medicare reimbursed for albuterol sulfate

and the amount the Schering-Plough Group actually charged. U.S. Rep. Bliley stated:

The OIG [Office of the Inspector General] has determined that
the Medicare-allowed amount for albuterol sulfate, a
pharmaceutical product sold by your company, in the Fiscal Year
1996 was $.42. The OIG further estimated that the actual
wholesale price of this drug was $.15 and the highest available
wholesale price that the OIG was able to identify was $.21.

314. Inareport to Congress, the GAO reported that albuterol sulfate was one of a
small number of products that accounted for the majority of Medicare spending and volume.
Albuterol sulfate accounted for 6.3% of total Medicare spending, ranking fifth out of more than
400 covered drugs. Albuterol sulfate ranked first for volume of units covered, accounting for

65.8% of total units reimbursed. See GAO Report to Congressional Committees, MEDICARE:

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Payments for Covered Outpatient Drugs Exceed Providers’ Cost, Tables 1 and 2, pp. 7-8. The
Schering-Plough Group is one of three companies noted by the DOJ as manufacturing
albuterol. See Program Memorandum Intermediaries/Carriers, Sept. 8, 2000, Dept. of Health
and Human Serv., Health Care Financing Admin.

315. A Medicaid investigation by the Texas Attorney General revealed that The
Schering-Plough Group defrauded the State of Texas $14.5 million. Investigators determined
that The Schering-Plough Group provided the greatest “spread” amongst the drug companies
selling albuterol in Texas, and thereby obtained the largest market share for albuterol. The
Schering-Plough Group sold a box of albuterol to pharmacies for $13.50, while it charged the
Texas Medicaid program $40.30, a 200% increase. See Cornyn Sues Three Drug Companies
for Medicaid Fraud, Press Release by the Office of the Attorney General, State of Texas,

Sept. 7, 2000.

316. On October 11, 2001, the West Virginia Attorney General filed suit against
Warrick, alleging that Warrick defrauded state agencies and citizens by deliberately overstating
the AWP for certain drugs, including albuterol, from approximately 1995 until December 2000.

317. The government’s investigation has uncovered substantial evidence that the
Schering-Plough Group’s fraudulent practices are widespread. For example, in a report
published by the DHHS, the DOJ documented at least one instance where the published AWP
for a drug manufactured by the Schering-Plough Group was substantially higher than the actual
price listed by wholesalers, The Schering-Plough Group reported to Red Book an AWP of
$30.25 for albuterol sulfate, yet the DOJ determined the actual AWP to be $9.16, or $21.09
less.

318. As set forth above, the Schering-Plough Group’s scheme to inflate its reported
AWPs and market the resulting spread to increase the market share of its drugs has resulted in

excessive overpayments by Plaintiffs and the Class.

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Q. The Sicor Group (Sicor, Gensia and Gensia-Sicor)
319. The Sicor Group has engaged in an ongoing deliberate scheme to inflate AWPs.
For example, by letter dated September 25, 2000 to the HCFA administrator, the Chairman of

the Commerce Committee revealed that:

[I]n 1998, a health care provider could buy Gensia’s Etoposide
for $14.00, while the AWP used to determine Medicare
reimbursement was $141.97.
320. The Sicor Group’s marketing strategies further demonstrate its fraudulent
practices. In a marketing document prepared by Gensia and obtained by the government in its

investigation, Gensia stated:

Concentrate field reps. on the top 40 AIDS hospitals using a

$54.00 price in conjunction with a 10% free goods program to

mask final price. Provides the account with an effective price of

$48.60 per vial.
See letter dated September 28, 2000 from U.S. Rep. Pete Stark to Alan F. Holmer, President of
the Pharmaceutical Research and Manufacturers of America.

321. Certain handwritten notations appear on this same marketing document

comparing the AWP with other prices used for the same drug:

FSS $44.95
Whls $71.00
Distr. $51.50
AWP $109.20

322. The government’s investigation has uncovered substantial evidence that the
Sicor Group’s fraudulent practices are widespread. For example, in a report published by the
DHHS, the DOJ documented at least 17 instances where the published AWPs for drugs
manufactured by The Sicor Group were substantially higher than the actual prices listed by
wholesalers,

323. The chart below sets forth three examples of the Sicor Group reporting inflated
AWPs. These figures compare the DOJ’s determination of an accurate AWP, based upon

wholesalers’ price lists, with the AWP reported by The Sicor Group in the 2001 Red Book.

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Drug The Sicor DOJ Difference Spread
Group’s 2001 Determined
Red Book AWP | Actual AWP
Tf
Acyclovir $125.00 $100.00 $25.00 25%
Sodium
Amikacin $87.50 $72.68 $14.82 20%
Sulfate
Tobramycin $342.19 $6.98 $335.21 4,802%
Sulfate

324. As set forth above, the Sicor Group’s scheme to inflate its reported AWPs and
market the resulting spread to increase the market share of its drugs has resulted in excessive
overpayments by Plaintiffs and the Class.

R, Watson

325. Watson has engaged in an ongoing deliberate scheme to inflate AWPs in order
to increase the market share of its products. Although each of the Medicare Part B
reimbursable drugs marketed by Watson is also available from other pharmaceutical
manufacturers and are not brand name pharmaceuticals, the government’s investigation has
uncovered substantial evidence of Watson’s fraudulent pricing practices with respect to certain
generic pharmaceuticals.

326. Watson’s AWP scheme is widespread, and the government investigation has
documented substantially inflated AWPs associated with Watson. For example, in a report
published by DHHS, the DOJ documented at least 12 instances where the published AWPs
pharmaceuticals manufactured and marketed by Watson were substantially higher than the
actual prices listed by wholesalers.

327. The chart below sets forth 7 examples of Watson reporting inflated AWPs.
These figures compare the DOJ’s determination of an accurate AWP, based upon wholesalers’

price lists, with the AWP reported by the Watson in the 1999-2001 Red Book.

Ti
Calculation based on the AWP listed in the 2000 Red Book.

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Drug Watson’s 1998- | DOJ Determined Difference Spread
2001 Red Book Actual
AWPs AWP
Dexamethasone $46.45 (1998) $11.50 $34.95 304%
Acetate
Dexamethasone $93.04 (2001) $1.08 $91.96 851%
Sodium Phosphate
Diazepam $18.15 (2000) $2.50 $15.65 626%
Gentamicin Sulfate | $114.10 (1999) $1.18 $112.92 957%
Tron Dextran $377.04 (2001) $24.69 $352.35 1,427%
Testosterone $42.10 (2001) $13.39 $28.71 214%
Ethanate
Vancomycin HCL $70.00 (1998) $3.84 $60.16 1,567%

328. As set forth above, Watson’s scheme to inflate its reported AWPs and market
the resulting spread to increase the market share of its drugs has resulted in excessive

overpayments by Plaintiffs and the Class.

VI. DIRECT DAMAGE SUSTAINED BY PLAINTIFFS
AND THE MEMBERS OF THE CLASS

329. Plaintiffs are directly damaged by Defendants’ fraudulent AWP pricing schemes
because Plaintiffs frequently are required to make a co-payment for a Covered Drug or a brand
name drug, or because such Plaintiffs occasionally make payment in full, and their payments
are based on inflated AWPs.

330. For example, as alleged in this Complaint, Medicare Part B recipients must pay
20% of the total amount that is reimbursed by Medicare to the pharmaceutical manufacturer.
Thus, if Medicare reimburses $100 for a covered drug based upon the reported AWP, the
Medicare beneficiary is responsible for 20%, or $20 in the illustrated situation.

331. Many Medicare beneficiaries obtain supplemental insurance known, for
example, as “Medigap” or “Medicare Plus” to cover the costs of pharmaceuticals as well as
other costs not paid by Medicare. Such supplemental insurers are also Third-Party Payors who
are damaged by the AWP Schemes.

332. Plaintiffs and other Third-Party Payors also typically make reimbursement to

health care providers for pharmaceuticals based upon the AWP. Accordingly, Third-Party

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Payors are directly damaged by fraudulent AWP pricing schemes for drugs covered by
employee health and benefit plans or by private insurance because reimbursement is also
typically based on the AWP, as in the case of Medicare and Medicaid reimbursement.
Vil. CLASS ACTION ALLEGATIONS
333. The Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure, on behalf of themselves and two Classes comprised of:

Class 1: The Medicare Part B Co-Pay Class:
All persons or entities who, for purposes other than resale and
during the Class Period, paid for the purchase of a prescription
drug manufactured by a Defendant Drug Manufacturer, which
payment constituted a contribution toward the Medicare Part B
co-payment.
Class 2: The Third-Party Payor Class:
All Third-Party Payors that, during the Class Period, contracted
with a PBM or other intermediary to, based on a “discount” off of
AWP, provide to its participants a brand name prescription drug
manufactured by a Defendant Drug Manufacturer.
Excluded from the Class are (a) each Defendant and any entity in which any Defendant has a
controlling interest, and their legal representatives, officers, directors, assignees and successors;
(b) any co-conspirators; and (c) any governmental entities who purchased such drugs during the
Class Period.
334. The Class Period is January 1, 1991 to the present.
335. The Class consists of numerous individuals and entities throughout the United
States, making individual joinder impractical, in satisfaction of Rule 23(a)(1). The disposition
of the claims of the Class Members in a single class action will provide substantial benefits to
all parties and to the Court.
336. The claims of the representative Plaintiffs are typical of the claims of the Class,

as required by Rule 23(a)(3), in that the representative Plaintiffs include people and entities

who, like all Class Members, purchased the Covered Drugs and/or brand name drugs at inflated

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prices based on AWPs. Such representative Plaintiffs, like all Class Members, have been
damaged by Defendants’ misconduct because, among other things, they paid prices for these
drugs that were higher than they would have been but for Defendants’ improper actions and, in
the case of co-payments, have had medical providers make pharmacy decisions based on
economic factors as opposed to purely medical factors.

337. The Class representatives for Class 1, the Medicare Part B Co-Pay Class, are:
Plaintiffs Geller, Townsend, Sicher, Lee, Bennett, Munic, Miles, Douglas, Aierstuck, Hudson,
Robinson, and the non-profit associations identified in paragraphs 29-51 herein.

338. The Class representatives for Class 2, the Third-Party Payor Class, are:
Plaintiffs CMHU, THWF, TCBW, and UFCW Care identified in paragraphs 24-27 herein.

339, The factual and legal bases of each Defendant’s misconduct are common to the
Class Members and represent a common thread of fraud.and other misconduct resulting in
injury to Plaintiffs and members of the Class.

340. There are many questions of law and fact common to Plaintiffs and the Class,
and those questions predominate over any questions that may affect individual Class Members,
within the meaning of and fulfilling Rules 23(a)(2) and 23(b)(3). Common questions of law
and fact include, but are not limited to, the following:

a. Whether Defendants engaged in a fraudulent and/or deceptive scheme of
improperly inflating the AWPs for the Covered Drugs and brand name drugs used by Plaintiffs
and Class Members as the basis for reimbursement;

b. Whether Defendants artificially inflated the AWPs for these drugs;

C. Whether it was the policy and practice of Defendants to prepare
marketing and sales materials that contained comparisons of the published AWPs and the

spreads available;

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d. Whether Defendants provided free samples of the Covered Drugs to
providers, and whether Defendants instructed them to bill Plaintiffs and the Class for those free
samples;

e. Whether Defendants’ provision of free samples to providers, with the
intent that the providers bill Plaintiffs and the Class for the free samples, was unlawful:

f. Whether Defendants paid financial inducements to providers and other
intermediaries, with the effect of lowering their costs for Covered Drugs and brand name drugs;

g. Whether Defendants engaged in a pattern and practice of paying illegal
kickbacks, disguised as free goods, rebates, consulting fees, junkets and education grants to
providers and other intermediaries;

h. Whether Defendants engaged in a pattern and practice that caused
Plaintiffs and Class Members to make inflated payments for the Covered Drugs and brand
name drugs;

i. Whether Defendants engaged in a pattern of deceptive and/or fraudulent

activity intended to defraud Plaintiffs and the Class members;

j. Whether Defendants formed enterprises for the purpose of carrying out
the AWP Scheme;

k. Whether Defendants used the U.S. mails and interstate wire facilities to
carry out the AWP Scheme;

1, Whether Defendants’ conduct violated RICO;

m. Whether AWPs are used as a benchmark for negotiating payments by
Third-Party Payors for brand name drugs;
n, Whether Defendants are liable to Plaintiffs and the Class members for
damages for conduct actionable under the various state consumer protection statutes.
341. Plaintiffs will fairly and adequately represent and protect the interests of the

Class, as required by Rule 23(a)(4). Plaintiffs have retained counsel with substantial

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experience in prosecuting nationwide consumer class actions. Plaintiffs and their counsel are
committed to vigorously prosecuting this action on behalf of the Class, and have the financial
resources to do so. Neither Plaintiffs nor their counsel have any interest adverse to those of the
Class.

342. Plaintiffs and members of the Class have all suffered, and will continue to
suffer, harm and damages as a result of Defendants’ unlawful and wrongful conduct. A class
action is superior to other available methods for the fair and efficient adjudication of this
controversy under Rule 23(b)(3). Absent a class action, most members of the Class likely
would find the cost of litigating their claims to be prohibitive, and will have no effective
remedy at law. The class treatment of common questions of law and fact is also superior to
multiple individual actions or piecemeal litigation in that it conserves the resources of the
Courts and the litigants, and promotes consistency and efficiency of adjudication.
Additionally, Defendants have acted and failed to act on grounds generally applicable to
Plaintiffs and the Class and require Court imposition of uniform relief to ensure compatible
standards of conduct toward the Class, thereby making appropriate equitable relief to the Class

as a whole within the meaning of Rules 23(b)(1) and (b)(2).

COUNT I
VIOLATIONS OF 18 U.S.C. § 1962(c)-(d)

(AGAINST DEFENDANT DRUG MANUFACTURERS FOR UNLAWFUL CONDUCT
ASSOCIATED WITH MEDICARE PART B COVERED DRUGS)

343. Plaintiffs, on behalf of themselves and all others similarly situated, reallege and
incorporate herein by reference each of the allegations contained in the preceding paragraphs of
this Complaint.

344. This Count, which alleges violations of Sections 1962(c) and (d) of RICO, 18
U.S.C, § § 1962(c)-(d), is asserted against the Defendant Drug Manufacturers and is brought on

behalf of Class 1 by the Class 1 representatives.

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345. Plaintiffs, the members of Class 1, the Defendant Drug Manufacturers and the
providers are each “persons,” as that term is defined in 18 U.S.C. § 1961(3). At all relevant
times, in violation of 18 U.S.C. § 1962(c), the Defendant Drug Manufacturers each conducted
the affairs of certain association-in-fact enterprises identified herein, the affairs of which
affected interstate commerce through a pattern of racketeering activity.

The AWP Enterprises

346. In accordance with 18 U.S.C. § 1961(4), the RICO “enterprises” enumerated in
{| 350(a)-(u) of this Complaint are associations-in-fact consisting of (a) various and independent
medical providers who prescribed Covered Drugs for which a Defendant Drug Manufacturer
reported an AWP, and (b) a Defendant Drug Manufacturer, including its directors, employees,
and agents (“the AWP Enterprises”). The AWP Enterprises are ongoing and continuing
business organizations consisting of both corporations and individuals that are and have been
associated for the common purposes of selling, purchasing, prescribing, and administering
Covered Drugs to Plaintiffs and Class 1 members who are individual persons, and to
participants in those Plaintiffs and Class 1 members who comprise health and welfare plans,
and deriving profits from these activities.

347, The providers are alleged to be members of the AWP Enterprises because they
were integral participants in the Defendant Drug Manufacturers’ AWP Scheme. Indeed, the
providers were the parties who actually sought reimbursement from Plaintiffs and the members
of Class 1.

348, The providers were aware of the Defendant Drug Manufacturers’ scheme, were
knowing and willing participants in the AWP Scheme, and were aware of the involvement of
other similarly-situated providers in that fraudulent and unlawful scheme.

349. The Defendant Drug Manufacturers and the providers operated collectively,
pursuant to a conspiratorial agreement, a common purpose and as a continuing unit, to

perpetrate the fraudulent AWP Scheme relating to the Covered Drugs alleged herein and their

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collective knowledge, wrongful activity and willing involvement in the Defendant Dug
Manufacturers’ AWP Scheme 1s evidenced by:

(a) The mass market nature of the various promotional and sales material
created and communicated by Defendant Drug Manufacturers to providers. Such pre-
printed materials were obviously designed for a mass audience and not just for a single
provider;

(b) The attendance by many providers at meetings of professional
organizations, at which Defendant Drug Manufacturers established booths and exhibits
discussing the wrongful practices alleged herein, including the “spread” and “return to
practice;”

(c) The failure of any providers to advise U.S. Government regulators
(including Medicare), private insurers and patients, including Plaintiffs and the
members of Class 1, of the existence of the spreads;

(d) The fact that each provider was aware that he, she or it was making a
profit from the spread, based on the nationally-published AWPs; and

(e) The fact that various provider professional organizations aggressively
lobbied against any change away from reimbursement for these Covered Drugs based
upon AWPs.

350. The AWP Enterprises are identified as follows:

(a) The Abbott Provider Enterprise: The Abbott Provider Enterprise is an
association-in-fact consisting of the various and independent medical providers who
prescribed Covered Drugs for which Abbott reported an AWP, and Defendant Abbott,
including its directors, employees and agents. The Abbott Provider Enterprise is an
ongoing and continuing business organization consisting of both corporations and
individuals that are and have been associated for the common purposes of selling,

purchasing, prescribing, and administering Covered Drugs to individual Plaintiffs and

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Class 1 members, and to participants in those Plaintiffs and Class 1 members that
comprise health and welfare plans, and deriving profits from these activities. At all
relevant times hereto, the activities of the Abbott Provider Enterprise affected interstate
commerce.

(b) The Amgen Provider Enterprise: The Amgen Provider Enterprise is an
association-in-fact consisting of the various and independent medical providers who
prescribed Covered Drugs for which Amgen reported an AWP, and Defendant Amgen,
including its directors, employees and agents. The Amgen Provider Enterprise is an
ongoing and continuing business organization consisting of both corporations and
individuals that are and have been associated for the common purposes of selling,
purchasing, prescribing, and administering Covered Drugs to individual Plaintiffs and
the Class 1 members and to participants in those Plaintiffs and Class 1 members that
comprise health and welfare plans, and deriving profits from these activities. At all
relevant times hereto, the activities of the Amgen Provider Enterprise affected interstate
commerce.

(c) The AstraZeneca Provider Enterprise: The AstraZeneca Provider
Enterprise is an association-in-fact consisting of the various and independent medical
providers who prescribed Covered Drugs for which AstraZeneca reported an AWP, and
AstraZeneca, including its directors, employees and agents. The AstraZeneca Provider
Enterprise is an ongoing and continuing business organization consisting of both
corporations and individuals that are and have been associated for the common purposes
of selling, purchasing, prescribing, and administering Covered Drugs to individual
Plaintiffs and Class 1 members and to participants in those Plaintiffs and Class 1
members that comprise health and welfare plans, and deriving profits from these
activities. At all relevant times hereto, the activities of the AstraZeneca Provider

Enterprise affected interstate commerce.

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(d) The Aventis Group Provider Enterprise: The Aventis Group Provider
Enterprise is an association-in-fact consisting of the various and independent medical
providers who prescribed Covered Drugs for which the Aventis Group reported an
AWP, and the Aventis Group, including its directors, employees and agents. The
Aventis Group Provider Enterprise is an ongoing and continuing business organization
consisting of both corporations and individuals that are and have been associated for the
common purposes of selling, purchasing, prescribing, and administering Covered Drugs
to individual Plaintiffs and Class 1 members and to participants in those Plaintiffs and
Class 1 members that comprise health and welfare plans, and deriving profits from these
activities. At all relevant times hereto, the activities of the Aventis Group Provider
Enterprise affected interstate commerce.

(e) The Baxter Provider Enterprise: The Baxter Provider Enterprise is an
association-in-fact consisting of the various and independent medical providers who
prescribed Covered Drugs for which Baxter reported an AWP, and Baxter, including its
directors, employees and agents. The Baxter Provider Enterprise is an ongoing and
continuing business organization consisting of both corporations and individuals that
are and have been associated for the common purposes of selling, purchasing,
prescribing, and administering Covered Drugs to individual Plaintiffs and Class 1
members and to participants in those Plaintiffs and Class 1 members that comprise
health and welfare plans, and deriving profits from these activities. At all relevant times
hereto, the activities of the Baxter Provider Enterprise affected interstate commerce.

(f) The Bayer Provider Enterprise: The Bayer Provider Enterprise is an
association-in-fact consisting of the various and independent medical providers who
prescribed Covered Drugs for which Bayer reported an AWP on the one hand, and
Bayer, including its directors, employees and agents. The Bayer Provider Enterprise is

an ongoing and continuing business organization consisting of both corporations and

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individuals that are and have been associated for the common purposes of selling,
purchasing, prescribing, and administering Covered Drugs to individual Plaintiffs and
Class 1 members and to participants in those Plaintiffs and Class 1 members that
comprise health and welfare plans, and deriving profits from these activities. At all
relevant times hereto, the activities of the Bayer Provider Enterprise affected interstate
commerce.

(g) The Boehringer Group Provider Enterprise: The Boehringer Group
Provider Enterprise is an association-in-fact consisting of the various and independent
medical providers who prescribed Covered Drugs for which the Boehringer Group
reported an AWP, and the Boehringer Group, including its directors, employees and
agents. The Boehringer Group Provider Enterprise is an ongoing and continuing
business organization consisting of both corporations and individuals that are and have
been associated for the common purposes of selling, purchasing, prescribing, and
administering Covered Drugs to individual Plaintiffs and Class 1 members and to
participants in those Plaintiffs and Class 1 members that comprise health and welfare
plans, and deriving profits from these activities. At all relevant times hereto, the
activities of the Boehringer Group Provider Enterprise affected interstate commerce.

(h) The Braun Provider Enterprise: The Braun Provider Enterprise is an
association-in-fact consisting of the various and independent medical providers who
prescribed Covered Drugs for which Braun reported an AWP, and Braun, including its
directors, employees and agents. The Braun Provider Enterprise is an ongoing and
continuing business organization consisting of both corporations and individuals that
are and have been associated for the common purposes of selling, purchasing,
prescribing, and administering Covered Drugs to individual Plaintiffs and Class 1

members and to participants in those Plaintiffs and Class 1 members that comprise

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health and welfare plans, and deriving profits from these activities, At all relevant times
hereto, the activities of the Braun Provider Enterprise affected interstate commerce.

(i) The BMS Group Provider Enterprise: The BMS Group Provider
Enterprise is an association-in-fact consisting of the various and independent medical
providers who prescribed Covered Drugs for which the BMS Group reported an AWP,
and the BMS Group, including its directors, employees and agents. The BMS Group
Provider Enterprise is an ongoing and continuing business organization consisting of
both corporations and individuals that are and have been associated for the common
purposes of selling, purchasing, prescribing, and administering Covered Drugs to
individual Plaintiffs and Class 1 members and to participants in those Plaintiffs and
Class 1 members that comprise health and welfare plans, and deriving profits from these
activities. At all relevant times hereto, the activities of the BMS Group Provider
Enterprise affected interstate commerce.

(j) The Dey Provider Enterprise: The Dey Provider Enterprise is an
association-in-fact consisting of the various and independent medical providers who
prescribed Covered Drugs for which Dey reported an AWP, and Dey, including its
directors, employees and agents. The Dey Provider Enterprise is an ongoing and
continuing business organization consisting of both corporations and individuals that
are and have been associated for the common purposes of selling, purchasing,
prescribing, and administering Covered Drugs to individual Plaintiffs and Class 1
members and to participants in those Plaintiffs and Class 1 members that comprise
health and welfare plans, and deriving profits from these activities. At all relevant times
hereto, the activities of the Dey Provider Enterprise affected interstate commerce.

(k) The Fujisawa Group Provider Enterprise: The Fujisawa Group Provider
Enterprise is an association-in-fact consisting of the various and independent medical

providers who prescribed Covered Drugs for which the Fujisawa Group reported an

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AWP, and the Fujisawa Group, including its directors, employees and agents. The
Fujisawa Group Provider Enterprise is an ongoing and continuing business organization
consisting of both corporations and individuals that are and have been associated for the
common purposes of selling, purchasing, prescribing, and administering Covered Drugs
to individual Plaintiffs and Class 1 members and to participants in those Plaintiffs and
Class 1 members that comprise health and welfare plans, and deriving profits from these
activities. At all relevant times hereto, the activities of the Fujisawa Group Provider
Enterprise affected interstate commerce.

(1) The GSK Group Provider Enterprise: The GSK Group Provider
Enterprise is an association-in-fact consisting of the various and independent medical
providers who prescribed Covered Drugs for which the GSK Group reported an AWP,
and the GSK Group, including its directors, employees and agents. The GSK Group
Provider Enterprise is an ongoing and continuing business organization consisting of
both corporations and individuals that are and have been associated for the common
purposes of selling, purchasing, prescribing, and administering Covered Drugs to
individual Plaintiffs and Class 1 members and to participants in those Plaintiffs and
Class 1 members that comprise health and welfare plans, and deriving profits from these
activities. At all relevant times hereto, the activities of the GSK Group Provider
Enterprise affected interstate commerce.

(m) The Hoffman-La Roche Provider Enterprise: The Hoffman-La Roche
Provider Enterprise is an association-in-fact consisting of the various and independent
medical providers who prescribed Covered Drugs for which Hoffman-La Roche
reported an AWP, and Hoffman-La Roche, including its directors, employees and
agents. The Hoffman-La Roche Provider Enterprise is an ongoing and continuing
business organization consisting of both corporations and individuals that are and have

been associated for the common purposes of selling, purchasing, prescribing, and

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administering Covered Drugs to individual Plaintiffs and Class 1 members and to
participants in those Plaintiffs and Class 1 members that comprise health and welfare
plans, and deriving profits from these activities. At all relevant times hereto, the
activities of the Hoffman-La Roche Provider Enterprise affected interstate commerce.

(n) The Immunex Provider Enterprise: The Immunex Provider Enterprise is
an association-in-fact consisting of the various and independent medical providers who
prescribed Covered Drugs for which Immunex reported an AWP, and Immunex,
including its directors, employees and agents. The Immunex Provider Enterprise is an
ongoing and continuing business organization consisting of both corporations and
individuals that are and have been associated for the common purposes of selling,
purchasing, prescribing, and administering Covered Drugs to individual Plaintiffs and
Class 1 members and to participants in those Plaintiffs and Class 1 members that
comprise health and welfare plans, and deriving profits from these activities. At all
relevant times hereto, the activities of the Immunex Provider Enterprise affected
interstate commerce.

(0) The Johnson & Johnson Group Provider Enterprise: The Johnson &
Johnson Group Provider Enterprise is an association-in-fact consisting of the various
and independent medical providers who prescribed Covered Drugs for which the
Johnson & Johnson Group reported an AWP, and the Johnson & Johnson Group,
including its directors, employees and agents. The Johnson & Johnson Group Provider
Enterprise is an ongoing and continuing business organization consisting of both
corporations and individuals that are and have been associated for the common purposes
of selling, purchasing, prescribing, and administering Covered Drugs to individual
Plaintiffs and Class 1 members and to participants in those Plaintiffs and Class 1

members that comprise health and welfare plans, and deriving profits from these

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activities. At all relevant times hereto, the activities of the Johnson & Johnson Group
Provider Enterprise affected interstate commerce.

(p) The Merck Provider Enterprise: The Merck Provider Enterprise is an
association-in-fact consisting of the various and independent medical providers who
prescribed Covered Drugs for which Merck reported an AWP, and Merck, including its
directors, employees and agents. The Merck Provider Enterprise is an ongoing and
continuing business organization consisting of both corporations and individuals that
are and have been associated for the common purposes of selling, purchasing,
prescribing, and administering Covered Drugs to individual Plaintiffs and Class 1
members and to participants in those Plaintiffs and Class 1 members that comprise
health and welfare plans, and deriving profits from these activities. At all relevant times
hereto, the activities of the Merck Provider Enterprise affected interstate commerce.

(q) The Pfizer Provider Enterprise: The Pfizer Provider Enterprise is an
association-in-fact consisting of the various and independent medical providers who
prescribed Covered Drugs for which Pfizer reported an AWP, and Pfizer, including its
directors, employees and agents. The Pfizer Provider Enterprise is an ongoing and
continuing business organization consisting of both corporations and individuals that
are and have been associated for the common purposes of selling, purchasing,
prescribing, and administering Covered Drugs to individual Plaintiffs and Class 1
members and to participants in those Plaintiffs and Class 1 members that comprise
health and welfare plans, and deriving profits from these activities. At all relevant times
hereto, the activities of the Pfizer Provider Enterprise affected interstate commerce.

(r) The Pharmacia Group Provider Enterprise: The Pharmacia Group
Provider Enterprise is an association-in-fact consisting of the various and independent
medical providers who prescribed Covered Drugs for which the Pharmacia Group

reported an AWP, and the Pharmacia Group, including its directors, employees and

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